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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, ET AL                                              CIVIL ACTION

VERSUS
                                                                   NO. 22-211-SDD-SDJ
KYLE ARDOIN, ET AL

                                    CONSOLIDATED WITH

EDWARD GALMON, SR., ET AL                                          CIVIL ACTION

VERSUS
                                                                   NO. 22-214-SDD-SDJ
KYLE ARDOIN, ET AL

                                            ORDER

       Before the Court is a Consent Motion for a Scheduling Order (R. Doc. 325) filed by the

Parties in this matter pursuant to the status conference held December 21, 2023 (R. Doc. 324).

       IT IS ORDERED that the Parties’ Consent Motion for a Scheduling Order (R. Doc. 325)

is GRANTED subject to the Court’s additions and modifications indicated in bold type below,

and the deadlines are set as follows:

     1. Should the Legislature fail to enact a map compliant with §2 of the Voting Rights Act

         (“VRA”) on or before January 30, 2024 (see R. Doc. 315), the following schedule shall

         apply:

              a. December 22, 2023 – deadline for Plaintiffs to serve expert disclosures in
                 accordance with Rule 26(a)(2)(B). Plaintiffs file expert reports related to
                 illustrative maps, other than those related to Racially Polarized Voting
                 (“RPV”) or election analysis on 2023 elections

              b. January 5, 2024 – deadline for Parties to exchange initial list of fact and
                 expert witnesses, except for experts performing RPV or election analysis on
                 2023 elections, and including any experts previously disclosed in connection
                 with the preliminary injunction and remedial proceedings that the party may
                 call at trial
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    c. January 12, 2024 – deadline for Parties to serve rebuttal expert reports, other
       than those related to RPV or election analysis on 2023 elections

    d. January 12, 2024 – close of fact discovery

    e. January 15, 2024 – deadline for Parties to file pre-trial motions

    f. January 15, 2024 – deadline for Parties to file non-dispositive pre-trial
       motions and to file Daubert Motions in Limine on experts thus far
       identified

    g. January 15, 2024 – deadline for the simultaneous exchange of expert reports
       related to RPV or election analysis on 2023 elections

    h. January 19, 2024 – deadline for the simultaneous exchange of rebuttal expert
       reports related to RPV or election analysis on 2023 elections

    i. January 22, 2024 – deadline for Parties to serve surrebuttal expert reports

    j. January 22, 2024 – deadline for Parties to oppose any pretrial motions and to
       oppose Daubert Motions in Limine on experts made the subject of the
       deadline in part 1(f) above

    k. January 22, 2024 – deadline for Parties to file Daubert Motions in Limine
       on experts related to RPV or election analysis on 2023 elections

    l. January 24, 2024 – deadline for the close of expert discovery

    m. January 26, 2024 – deadline for Parties to oppose Daubert Motions in
       Limine on experts related to RPV or election analysis on 2023 elections

    n. January 26, 2024 – deadline for Parties to file dispositive motions

    o. January 26, 2024 – deadline for Parties to exchange witness and exhibit lists
       for trial

    p. January 29, 2024 – final in-person pretrial conference

    q. January 30, 2024 – deadline for Parties to file motions in opposition to
       dispositive motions

    r. February 1, 2024 – deadline for Parties to file witness and exhibit lists,
       with objections, and exchange labeled exhibits

    s. February 5, 2024 – first day of trial, commencing at 9 am
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2. Should the Legislature enact a map compliant with §2 of the VRA on or before

   January 30, 2024, the following schedule shall apply:

       a. January 30, 2024 – deadline for Parties to produce, exchange, and file enacted
          maps and illustrative maps

       b. February 6, 2024 – deadline for Plaintiffs to notify Court whether they oppose
          the new enacted map

       c. February 8, 2024 – deadline for Plaintiffs to file an Amended Complaint or
          supplemental complaint

       d. February 9, 2024 – deadline for the simultaneous exchange of expert reports
          related to the new enacted map

       e. February 16, 2024 – deadline for Defendants to respond to Plaintiffs’
          Amended Complaint, if filed

       f. February 19, 2024 – deadline for the simultaneous exchange of rebuttal expert
          reports

       g. February 22, 2024 – close of fact and expert discovery

       h. February 23, 2024 – deadline for Parties to file pretrial motions, including
          Motions in Limine

       i. March 1, 2024 – deadline for Parties to file oppositions to pretrial motions

       j. March 8, 2024 – deadline for Parties to file dispositive motions

       k. March 11, 2024 – deadline for Parties to exchange witness and exhibit lists

       l. March 18, 2024 – final in-person trial conference

       m. March 18, 2024 – deadline for Parties to file oppositions to dispositive
          motions

       n. March 19, 2024 – deadline for Parties to file witness and exhibit lists, with
          objections, and exchange stamped exhibits

       o. March 25, 2024 – first day of trial, commencing at 9am

 Signed in Baton Rouge, Louisiana, on January 2, 2024.

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                                      SCOTT D. JOHNSON
                                      UNITED STATES MAGISTRATE JUDGE
